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                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK
 In re:
                                                                Bankr. Case No. 16-10407-SMB
 TRANSCARE CORPORATION, et al.,1                                           Chapter 7
                                                                    (Jointly Administered)
 SALVATORE LAMONICA, as Chapter 7
 Trustee for the Estates of TransCare
 Corporation, et al.,

                           Plaintiff,                             Adv. Case No. 18-1021-smb

                           v.

 LYNN TILTON, PATRIARCH
 PARTNERS AGENCY SERVICES, LLC,
 PATRIARCH PARTNERS, LLC,
 PATRIARCH PARTNERS MANAGEMENT
 GROUP, LLC, ARK II CLO 2001-1,
 LIMITED, ARK INVESTMENT PARTNERS
 II, L.P., LD INVESTMENTS, LLC,
 PATRIARCH PARTNERS II, LLC,
 PATRIARCH PARTNERS III, LLC,
 PATRIARCH PARTNERS VIII, LLC,
 PATRIARCH PARTNERS XIV, LLC,
 PATRIARCH PARTNERS XV, LLC,
 TRANSCENDENCE TRANSIT, INC., and
 TRANSCENDENCE TRANSIT II, INC.,

                         Defendants.
 SHAMEEKA IEN on behalf of herself and all
 others similarly situated,

                           Plaintiff,

                           v.

 TRANSCARE CORPORATION,
 TRANSCARE NEW YORK, INC.,
 TRANSCARE ML, INC., TC AMBULANCE                                Adv. Case No. 16-01033-smb

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  The debtors consist of TransCare Corporation, TransCare New York, Inc., TransCare ML, Inc., TC Ambulance
Group, Inc., TransCare Management Services, Inc., TCBA Ambulance, Inc., TC Billing and Services Corporation,
TransCare Westchester, Inc., TransCare Maryland, Inc., TC Ambulance North, Inc., TransCare Harford County,
Inc., TransCare Pennsylvania, Inc., TC Ambulance Corporation and TC Hudson Valley Ambulance Corporation
(collectively, the “Debtors” or “TransCare”).
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 GROUP, INC., TRANSCARE
 MANAGEMENT SERVICES, INC., TCBA
 AMBULANCE, INC., TC BILLING AND
 SERVICES CORPORATION, TRANSCARE
 WESTCHESTER, INC., TRANSCARE
 MARYLAND, INC., TC AMBULANCE
 NORTH, INC. AND TRANSCARE
 HARFORD COUNTY, INC., LYNN
 TILTON, ARK CLO 2001-1 LIMITED, ARK
 INVESTMENT PARTNERS II, L.P.,
 PATRIARCH PARTNERS, LLC, and
 PATRIARCH PARTNERS III, LLC,

                         Defendants.

    JOINDER IN THE TRUSTEE’S MOTION TO MODIFY SCHEDULING ORDER

       On July 25, 2018, the Court entered an Order setting the close of discovery in the WARN

Act adversary (Ien v. TransCare Corporation, et al., Adv. Proc. No. 16-1033) as the same date

as the close of discovery in the Trustee’s adversary proceeding against Lynn Tilton, Patriarch

Partners, LLC and other affiliated entities. That date is October 26, 2018. [Dkt. No. 68] See

Exhibit A. At the time the deadline was set, the parties indicated “it [would] create efficiencies

in the discovery process if this [WARN Act adversary] case is on the same schedule as the

adversary filed by the Trustee.” Id.

       There is substantial overlap between the two cases, given the Trustee has alleged a claim

for breach of fiduciary duty founded on the creation of WARN liability. In other words, WARN

liability is a case within the case for the Trustee. The WARN Plaintiff seeks to show Patriarch

Partners, LLC acted as a single employer with its subsidiaries, exceeding the limited bounds of

shareholder ownership. The Trustee also seeks to show Patriarch Partners, LLC similarly acted

in ways that were inconsistent with its role and duties.

       Over the course of the last month, the parties have sought agreement in minimizing

deposition time by allowing all parties to attend depositions in both adversaries, scheduling

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depositions on consecutive days, and permitting the WARN Plaintiff access to documents

produced in the Trustee’s adversary (many of which are likely relevant to the WARN adversary).

The parties have not, as yet, reached final agreement on the terms of this stipulation and, as the

Trustee notes, additional time may allow for a more streamlined process for the remainder of

discovery.

       As the Trustee also indicated, the parties have already scheduled depositions for the first

two weeks of November. Further, on September 28, 2018, the Patriarch Defendants produced

additional documents to the WARN Plaintiff and indicated they will serve revised interrogatory

responses and a privilege log shortly.

       The Trustee now seeks an extension of fact discovery to December 17, 2018, along with

extensions of all subsequent deadlines. The WARN Plaintiff believes, in light of the above, it

would be appropriate for the discovery deadlines and corresponding pre-trial deadlines to be

extended in both cases.

       Based on the outcome of the Trustee’s motion, the WARN Plaintiff will endeavor to

confer with Patriarch Partners to seek agreement on an amended scheduling order in the WARN

Act adversary which maximizes efficiency without prejudicing the parties.

       WHEREFORE, Plaintiff joins in support of the Trustee’s Motion to Modify Scheduling

Order and the relief requested therein.

Dated: October 1, 2018                        Respectfully submitted,

                                      By: /s/ Jack A. Raisner
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